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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JOHN ACKER, KARI ACKER, HENRY ABRAMS,
MICHAEL ABRAMS, BRIAN ADELMAN,

JEFFREY AUGUSTYN, PATRICIA AUGUSTYN, Case No. 2:08-cv-11261
KATHERINE BARKER, MICHAEL BARKER,

AMY BENGALA, MARIO BENGALA, Hon. Paul D. Borman
MARK BERGIN, LORETTA BERTUCCI,

KEITH BOROWY, KAREN BOROWY, Mag. Judge Steven D. Pepe
PATRICIA BURGESS, PATRICK BURGESS,

NATALIE CARROLL, MATTHEW CARTER, STATEMENT OF
PHILIP CARTER, ANDREW COLMAN, DISCLOSURE OF
DEBORAH COLMAN, JOHN DOMBROWSKI, CORPORATE

SUSAN DOMBROWSKI, GARY EMERICK, AFFILIATIONS AND
KATHRYN EMERICK, FRED FERBER, FINANCIAL INTEREST

 

MORTON FREEDMAN, MICHAEL SCOTT FREELAND,
IRWIN GOREN, STEVEN GOREN, LINDSAY GROSS,
HAROLD HADDEN, JOANNE HADDEN,

JACQUELIN HOLUBKA, BEVERLY HOWE,

PAMELA HOWE, THOMAS HOWE, JEROME KAUFMAN,
DANIEL KENNEDY, LISA KENNEDY, VICTOR KUBANI,
GINO LEDONNE, RONALD LICHT, GILBERT MAYOR,
MICHAEL MCNAMARA, JILL MEHR, VIRGINIA MEHR,
PEPINOG MELONI, DAVID MOSS, JOHN MURPHY,

RITA MURPHY, THOMAS A. OBERTS, GARY O’BRYAN,
KATHRYN O’BRYAN, KATHY O’BRYAN,

PATRICK O’BRYAN, DONALD ORLICH,

PATRICIA ORLICH, HERBERT RECHTER,

RONALD RECHTER, DEAN RHODES, DANIEL RUSS,
KATHLEEN RUSS, ANNETTE SAMSON-EICHEN,

WILLIAM SILVERSTONE, MURRAY SNYDER,

BRENDA STEOR, JULIE STEVENSON, MARK STEVENSON,
MARVIN TRIMAS, CHRISTINE WYZER, WILLIAM WYZER,
MICHAEL ZIMMERMAN, ALRON CONNECTICUT LLC,
ALRON HILTON FLORIDA LLC, AMERICAN ALLOYS INC.,
GET YOUR RED ON LLC, and TPH INVESTMENTS INC.,

AND
PRASHANT ARYA, SMRITI ARYA, GUS AVGOUSTIS,
BETH BALOGH, LAUREN BARKER, SAM BARON, TIM BEGER,

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RONALD E. BITTKER, THOMAS BOHN, MARY BOHN,

JEAN BURNS, TONIA BUSCH, LINDA CANZANO,

DAVID CARROLL, RICCARDO J, CECCACCI,

EUGENE F. CHRISTIE, JUDITH W. CHRISTIE,

MICHELLE COLYER, ILENE CRESS, GARY CROCKER,

JIM CZAPLA, PATRICIA DAVIS, ROBERT DAVIS,

JOSEPH DECKER, ROBERT LEE DERANEK,

JUSTIN DEWITTE, DELYNN DINDOFFER,

TIMOTHY DINDOFFER, WILLIAM DISALVATORE,

ABRAM DOBRUSIN, ANNA DOBRUSIN,

STEVEN FINK, GREGORY FOGLE, JUSTIN R. FOGLE,

ANNE A. GILES, DANIEL K. GILES, ELEANOR GOREN,
FRED GOREN, RICHARD HAMBLEY,

CATHERINE HAMBLEY, CAROL HARRIS,

ROBERT HARRIS, DAVID HATTIE, JAMES M. HEPPARD,
HARRY HILL, MADELINE HILL, BRENT HODGE,

TRACY HODGE, MICHAEL HORGAN, LISA HORGAN,
WALLACE HOWE, HEATHER HUNTER, JOSEPH HUNTER,
RICHARD JEDOWOLASKI, JR. SAMUEL KIRK,

DENISE M. KIZY, JOSEPH KUBANI,

KAY KUTINSKY, BRIAN LAMBRECHT,

KRISTINE LAMBRECHT, DIANA LANDSBERG,

MARK LARAITA, ROBIN LARAIA, DAVID LAWRENCE,
MICHAEL LAX, YVONNE LAX, NANCY LEVERENCE,
DEMETRIOS LIAROS, CLAIRE LIPTEN,

GREGORY LITTLE, PATRICIA L. LITTLE,

PENNY S. LUNDBERG, STEVEN L, LUNDBERG,

JUDITH MACADAM, WILLIAM MACADAM, IR,

FRANK MANCHEL, SALVATORE MANNINO,

DAVID MCGAHEY, VALERIE MCGUIRE, VERN MCKEEVER,
MATTHEW MEYER, SIDNEY MILLER, TERESA MITCHELL,
BRIAN NICHOLSON, CATHERYNE NICHOLSON,

THOMAS O’BRYAN, LISA O’CONNER,

THOMAS O’CONNER, BRUCE OLSON, JUDY A. OLSON,
JOHN H. OSTRANDER, SALLY PAULS, DONALD PETERSON,
DAPHNE PETERSON, SUZANNE PEW, JAMES PHIPPS,
RONDA PHIPPS, DOLORES PIELACK, STANLEY PIELACK,
GEORGE POLETES, LISETTE POLETES, DEBORAH POUSHO,
JEFF POUSHO, NANCY A. REID, ROSE RHODES, MARY ANN
RICKENS, WALTER RICKENS,

JUDY ANN ROGERS, ROBERT E. ROSE, PHILIP J, RUEHL,
DAVID SAAR, GORDON SCARLETT, MARKUS SCHLIPPHAK,
DIANA SCHRODER, BEVERLY SHAVER, THOMAS SHAVER,
JOHN SHOLANDER, STEVEN SHUSTER, RALPH SILVEY,

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SHIRLEY SILVEY, BRYAN SMITH, JENNIFER SMITH,
TERRANCE SMITH, JEANNE H. SNIDER,

KENNETH J. SNIDER, JOHN SOKOLIK,

STUART SPRAGUE, LINDA ST. LOUIS,

WILLIAM ST. LOUIS, STEVEN T. SUNDBERG,

JOHN THOMAS, BEVERLY TUORI, WILLIAM TUORI,
STEVE VELASCO, JAMES VELTHOVEN,

MICHAEL VELTHOVEN, PAUL VIVIANO,

DARRYL WEBB, JULIE WEBB, MARRIANNA WEBB,

RYAN WEBB, JAMES WHITE, MARY WHITE,

RONALD WINTERS, CHRISTOPHER ZERBA,

JULIE ZERBA, YVONNE ZERBA,

JOE ZIELKOWSKI, ROBERT ZIELKOWSKI,

ATLANTIS COMMUNICATIONS PROJECT LLC,

BEVERLY HOWE TRUST, BGLG LLC,

BJW INVESTMENTS LLC, CALIFORNIA HILTON
COMMUNICATIONS LLC, DCMD COMMUNICATIONS LLC,
DYNAMICS FINANCIAL LLC, ENGINEERING BY THE
RUEHLS INC., FLORIDA HILTON COMMUNICATIONS LLC,
GORDON E. SNAVELY FAMILY TRUST, GOTHAM

CITY COMMUNICATIONS LLC, HALE TRUST,

HAMBLEY FAMILY TRUST, ITALIAN PROJECT

TELECOM LLC, JUST INVESTMENTS SOLUTIONS LLC,
MACAU ISLAND COMMUNICATIONS PROJECT LLC,
MARVIN AND MARSHA TRIMAS TRUST,

MT INVESTMENT GROUP LLC, NATALIE CARROLL TRUST,
PETERSON FAMILY TRUST, PIELACK FAMILY TRUST,
ROSEMARY C. SNAVELY FAMILY TRUST, SKI TEC INC,
SPECS INC., TBNJ TELECOM LLC, and WALLACE E.

HOWE TRUST,

Plaintiffs,
V.

DOEREN MAYHEW & COMPANY,
PROFESSIONAL CORPORATION

d/b/a DOEREN MAYHEW, TODD R. FOX,
JAMES P. O’RILLEY, JOANN FOX,
NANCY O’RILLEY, and

SAMJACK INVESTMENTS, INC.,

Defendants.

 

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SamJack Investments, Inc.

 

STATEMENT OF DISCLOSURE
OF CORPORATE AFFILIATION AND FINANCIAL INTEREST

Pursuant to E. D. Mich. LR 83.4, ALRON CONNECTICUT LLC, ALRON HILTON
FLORIDA LLC, AMERICAN ALLOYS INC, GET YOUR RED ON LLC, TPH
INVESTMENTS INC., ATLANTIS COMMUNICATIONS PROJECT LLC, BGLG LLC, BIW
INVESTMENTS LLC, CALIFORNIA HILTON COMMUNICATIONS LLC, DCMD
COMMUNICATIONS LLC, DYNAMICS FINANCIAL LLC, ENGINEERING BY THE
RUEHLS INC., FLORIDA HILTON COMMUNICATIONS LLC, GOTHAM CITY
COMMUNICATIONS LLC, ITALIAN PROJECT TELECOM LLC, JUST INVESTMENTS

SOLUTIONS LLC, MACAU ISLAND COMMUNICATIONS PROJECT LLC, MT

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INVESTMENT GROUP LLC, SKI TEC INC., SPECS INC., TBNJ TELECOM LLC, make the
following disclosure: (Note: A negative report, if appropriate, is required.)
1 Ate said corporate parties subsidiaries or affiliates of any publicly owned corporations?

Yes: _ No: X
If the answer is yes, list below the identities ofthe parent corporations or affiliates and
the relationships between them and the named parties.

Patent Corporations/Affiliate Names: Not Applicable
Relationship with Named Parties: | Not Applicable

2. Is there a publicly owned corporation or its affiliate, not a party to the case, that has a
substantial financial interest in the outcome of the litigation?

Yes: _ No: X
If the answer is yes, list the identity of such corporation or affiliate and the nature of the
financial interest.

Parent Corporation/Affiliate Name: Not Applicable
Nature of Financial Interest: Not Applicable

Date: April 11, 2008 /s/ R, Christopher Cataldo
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